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                                  UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
Case No: 20-cv-06754-WHA
Case Name: Sonos, Inc. v. Google, LLC

                           TRIAL SHEET, EXHIBIT and WITNESS LIST

 JUDGE:                            PLAINTIFFS ATTORNEYS:                    DEFENSE ATTORNEYS:
 William Alsup                     Sean Sullivan, Alyssa Caridis, Cole      Sean Pak, Lindsay Cooper,
                                   Richter.                                 Patrick Weston.
 TRIAL DATE:                       REPORTER(S):                             CLERK:
 05/26/2023                        Ruth Ekhaus                              Angella Meuleman

 PLF      DEF       DATE/TIME
 NO.      NO.       OFFERED   ID REC DESCRIPTION                                                         BY
                    7:45 a.m.        Jury proceeds to deliberations.
                    9:35 a.m.                    Jury note #1 received.
                    10:07 a.m.                   Court in session. Court reads jury note aloud and
                                                 discusses same with parties.
                    10:09 a.m.                   Answer to note agreed upon by all parties and sent to
                                                 the jury. Jury continues deliberations.
                    10:10 a.m.                   Court in recess.
                    11:06 a.m.                   Jury note #2 received.
                    11:19 a.m.                   Court reconvened. Court reads jury note aloud and
                                                 discussed same with parties.
                    11:21 a.m.                   Court in recess.
                    11:33 a.m.                   Jury note #3 received.
                    11:38 a.m.                   Court reconvened. Answers to Jury notes #2 and #3
                                                 discussed with parties.
                    11:47 a.m.                   Answer to Jury note #2 sent to jury. Court in recess.
                    12:07 p.m.                   Court reconvened. Answer to Jury note #3 discussed.
                    12:11 p.m.                   Answer to Jury note #3 sent to jury. Court in recess.
                    12:41 p.m.                   Court reconvened. Jury note #4 received indicating
                                                 unanimous verdict.
                    12:44 p.m.                   Jury present. Court reads aloud verdict. Jury polled.
                    12:51 p.m.                   Jury thanked and discharged.
                    12:55 p.m.                   Court adjourned.




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